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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

VICTORIA RODRIGUEZ,

       Plaintiff,                             CASE NO.: 8:17-cv-01624-JDW-TBM

-VS-

WELLS FARGO BANK, N.A. d/b/a WELLS
FARGO DEALER SERVICES,
    Defendant.
                             /


                    JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


       COMES NOW the Plaintiff, Victoria Rodriguez, and the Defendant, Wells Fargo

Bank, N.A., and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss,

with prejudice, each claim and count therein asserted by Plaintiff against the Defendant

in the above styled action, with Plaintiff and Defendant to bear their own attorney’s fees,

costs and expenses.

       Respectfully submitted this 8th day of March, 2018.

/s/ Octavio Gomez                             /s/ Jacqueline Simms-Petredis
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